
47 So.3d 370 (2010)
Robert JACKSON, Appellant,
v.
STATE of Florida, Appellee.
No. 4D09-4887.
District Court of Appeal of Florida, Fourth District.
November 10, 2010.
*371 Robert Jackson, Okeechobee, pro se.
No appearance required for appellee.
PER CURIAM.
We affirm the appealed order. In addition, because the arguments made by appellant are repetitive and successive, we order appellant to show cause within twenty days why this court should not impose the sanction of no longer accepting his pro se filings and why it should not refer appellant to prison officials for disciplinary proceedings. State v. Spencer, 751 So.2d 47 (Fla.1999); § 944.279(1), Fla. Stat. (2009).
Affirmed; order to show cause issued.
WARNER, POLEN and LEVINE, JJ., concur.
